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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


    IN RE:                                               Chapter 11

    AGWAY FARM & HOME SUPPLY, LLC,1                      Case No. 22-10602 (JKS)

                         Debtor.                                         54
                                                         Re: Docket No. ______


                   ORDER ESTABLISHING PROCEDURES FOR
        INTERIM COMPENSATION AND REIMBURSEMENT OF PROFESSIONALS

          Upon the motion (the “Motion”) of Agway Farm & Home Supply, LLC, the debtor and

    debtor in possession (the “Debtor”), for entry of an order pursuant to 11 U.S.C. §§ 105(a) and

    331 of title 11 of the United States Code (the “Bankruptcy Code”), Rule 2016 of the Federal

    Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 2016-1 of the Local Rules

    of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

    Delaware (the “Local Rules”) establishing procedures for the interim compensation and

    reimbursement of expenses of professionals, and the Court having jurisdiction over this matter

    pursuant to 28 U.S.C. §§ 157 and 1334, and the Amended Standing Order of Reference from

    the United States District Court for the District of Delaware dated as of February 29, 2012, and

    due and adequate notice of the Motion having been given; and it appearing that no other or

    further notice need be provided; and after due deliberation and sufficient cause appearing

    therefore, it is by the United States Bankruptcy Court for the District of Delaware hereby

          ORDERED, ADJUDGED and DECREED THAT:

              1. The Motion is granted to the extent set forth herein.

              2. Capitalized terms not otherwise defined herein shall have the meanings ascribed


1
 The last four digits of the Debtor’s federal tax identification number are 1247. The Debtor’s address is 6606 W.
Broad Street, Richmond, VA 23230.


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to such terms in the Motion.

              3. Except as otherwise provided in an order of this Court authorizing the retention of

a particular Professional, the Professionals in this case may seek interim payment of

compensation and reimbursement of expenses in accordance with the following Compensation

Procedures:

                  (a)    No earlier than the fifth (5th) day of each calendar monthly following the
                         month for which compensation is sought each Professional seeking interim
                         compensation may file an application (the “Monthly Fee Application”),
                         pursuant to section 331 of the Bankruptcy Code, for interim approval and
                         allowance of compensation for services rendered and reimbursement of
                         expenses incurred during any previous month or months (the
                         “Compensation Period”) and serve a copy of such Monthly Fee Application
                         on the following parties: (i) the Debtor: Agway Farm & Home Supply,
                         LLC, 6606 W. Broad Street, Richmond, VA 23230; (ii) counsel to the
                         Debtor: Morris James LLP, 500 Delaware Avenue, Suite 1500,
                         Wilmington, DE 19801 Attn: Jeffrey Waxman and Brya Keilson,
                         jwaxman@morrisjames.com and bkeilson@morrisjames.com and Shulman
                         Bastian Friedman & Bui LLP, 100 Spectrum Center Drive; Suite 600,
                         Irvine, CA 92618 Attn: Alan Friedman, Melissa Davis Lowe and Max
                         Casal, afriedman@shulmanbastian.com, mlowe@shulmanbastian.com and
                         mcasal@shulmanbastian.com; (iii) the Office of the United States Trustee,
                         844 King St., Suite 2207, Lockbox 35, Wilmington, DE 19801, Attn:
                         Richard Schepacarter (Richard.Schepacarter@usdoj.gov); (iv) counsel to
                         any statutory committee appointed in this case; and (v) any party asserting
                         liens against the Debtor’s assets (each a “Notice Party” and collectively, the
                         “Notice Parties”). Any Professional that does not file a Monthly Fee
                         Application for a particular month or months may subsequently submit a
                         consolidated Monthly Fee Application for a particular month or months. All
                         Monthly Fee Applications shall comply with the Bankruptcy Code, the
                         Bankruptcy Rules, applicable Third Circuit law and the Local Rules of the
                         Court. Each Notice Party will have ten (10) days after service of a Monthly
                         Fee Application to object thereto (the “Objection Deadline”). Upon the
                         expiration of the Objection Deadline, a Professional may file a certificate of
                         no objection with the Court, after which the Debtor shall be authorized to
                         pay each Professional an amount (the “Actual Interim Payment” equal to
                         the lesser of: (i) 80% of the fees and 100% of the expenses requested in the
                         Monthly Fee Application (the “Interim Payment”); and (ii) 80% of the fees
                         and 100% of the expenses not subject to an objection pursuant to
                         subparagraph (b) below.

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              (b)   If any Notice Party objects to a Professional’s Monthly Fee Application, it
                    must file a written objection (an “Objection”) with the Court and serve it
                    on the affected Professional and each of the Notice Parties on or before the
                    Objection Deadline; provided, however, that on written notice to the other
                    Notice Parties, the applicable Professional may agree to extend such
                    objecting party’s Objection Deadline. Thereafter, the objecting party and
                    the affected Professional may attempt to resolve the Objection on a
                    consensual basis. If the parties are unable to reach a resolution of the
                    Objection within 20 days after service of the Objection, the affected
                    Professional may either: (i) file a response to the Objection with the Court,
                    together with a request for payment of the difference, if any, between the
                    Interim Payment and the Actual Interim Payment made to the affected
                    Professional (the “Incremental Amount”); or (ii) forego payment of the
                    Incremental Amount until the next interim or final fee application hearing,
                    at which time the Court will consider and dispose of the Objection if
                    requested by the parties.

              (c)   Beginning with the period beginning on the Petition Date and ending on
                    September 30, 2022 (or sooner, should the confirmation date of a plan of
                    reorganization be scheduled) and at three-month intervals or at such other
                    intervals convenient to the Court, each of the Professionals may file with
                    the Court and serve on the Notice Parties a request (an “Interim Fee
                    Application Request”) for interim Court approval and allowance, pursuant
                    to section 331 of the Bankruptcy Code, of the compensation and
                    reimbursement of expenses sought in the Monthly Fee Applications filed
                    during such period (the “Interim Fee Period”). The Interim Fee
                    Application Request must include a summary of the Monthly Fee
                    Applications that are the subject of the request and any other information
                    requested by the Court or required by the Local Rules, including Local
                    Rule 2016-2. An Interim Fee Application may be filed with the Court and
                    served upon the Notice Parties within 45 days after the end of the
                    applicable Interim Fee Period. Objections, if any, to an Interim Fee
                    Application shall be filed with the Court and served upon the affected
                    Professional and each of the Notice Parties on or before the 15th day
                    following service of the applicable Interim Fee Application.

              (d)   To the extent applicable in this Case, the Debtor shall request that the
                    Court schedule a hearing on Interim Fee Application Requests
                    approximately once every four months, or at such other intervals as the
                    Court deems appropriate.

              (e)   The pendency of an Objection to payment of compensation or
                    reimbursement of expenses shall not disqualify a Professional from the

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                        future payment of compensation or reimbursement of expenses.

                (f)     Neither: (i) the payment of or the failure to pay, in whole or in part,
                        monthly interim compensation and reimbursement of expenses; nor (ii) the
                        filing of or failure to file an Objection, shall bind any party in interest or
                        the Court with respect to the allowance of interim or final applications for
                        compensation and reimbursement of expenses of Professionals. All fees
                        and expenses paid to Professionals are subject to disgorgement until final
                        allowance by the Court.


         4.     The Monthly Fee Applications, Interim Fee Applications, final fee applications and

Hearing Notices (as defined below) shall be served as follows: (a) the Notice Parties shall be

entitled to receive the Monthly Fee Applications, Interim Fee Applications, final fee applications,

and notices of any hearing thereon (the “Hearing Notices”); and (b) the parties in interest

requesting notice pursuant to Bankruptcy Rule 2002 shall be entitled to receive only the Hearing

Notices. Notice given in accordance with this paragraph is deemed sufficient and adequate and in

full compliance with the applicable provisions of the Bankruptcy Code, the Bankruptcy Rules and

the Local Rules of this Court.

         5.     All time periods referenced in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

         6.     This Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation or interpretation of this Order.




                                                              J. KATE STICKLES
       Dated: August 3rd, 2022
                                                              UNITED STATES BANKRUPTCY JUDGE
       Wilmington, Delaware

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